      Case 1:15-cr-00077-JRH-BKE Document 329 Filed 03/09/16 Page 1 of 1



                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF GEORGIA
                             AUGUSTA DIVISION



UNITED STATES OF AMERICA


                                                            CR 1:15-077

GABRIEL LAKES




                ORDER ON MOTION FOR LEAVE OF ABSENCE



      Victor Hawk, having made application to the Court for a leave of absence, and

it being evident from the application that the provisions of Local Rule 83.9 have been
compliedwith, and no objections having been received;
      IT IS HEREBY ORDERED THAT Victor Hawk be granted leave of absence

for the following periods: March 21, 2016 through March 25, 2016; April 28,
2016 through April 29, 2016; June 6, 2016 through June 13, 2016; July 28,
2016 through July 29, 2016, October 24, 2016through October 31, 2016 and
November 28, 2016 through December 2, 2016.

      This _2fday of March, 2016.



                                                     ;J. R&NDAL HALL
                                               States District Judge
                                              jrn District of Georgia
